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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IGT GLOBAL SOLUTIONS                                 )
CORPORATION, a Delaware corporation;                 )
                                                     )   Case No. 18-cv-00476
               Plaintiff,                            )
                                                     )   The Honorable Robert M. Dow
       v.                                            )
                                                     )   JURY DEMAND
COLIN HADDEN, an individual; CAMELOT                 )
ILLINOIS, LLC, an Illinois limited liability         )
corporation; and CAMELOT GLOBAL                      )
SERVICES (NORTH AMERICA), INC., a                    )
Delaware corporation,                                )
                                                     )
               Defendants.

                             STIPULATED DISMISSAL ORDER

       Plaintiff IGT Global Solutions Corporation (“IGT”) and Defendants Colin Hadden

(“Hadden”), Camelot Illinois, LLC (“Camelot Illinois”) and Camelot Global Services (North

America), Inc. (“Camelot”), for their stipulated dismissal order, pursuant to settlement, and upon

good cause; IT IS HEREBY ORDERED:

       1.      The Complaint is dismissed without prejudice, with any Party having the right to

file a motion to reopen this action prior to or on May 4, 2019, to assert a claim for an alleged

breach of the Parties’ settlement agreement. The Parties agree that no other basis shall exist on

which any Party may seek to reopen this action.

       2.      The dismissal without prejudice in this Stipulated Dismissal Order shall

automatically convert to a dismissal with prejudice effective May 5, 2019, if no motion to reopen

is filed on or before May 4, 2019.

       3.      This Court shall retain jurisdiction over the parties and this action to enforce the

Parties’ settlement agreement, as set forth in paragraph 1.

       4.      Each party is to bear its own costs and attorney’s fees.
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         So Stipulated:

Dated:    _June 25, 2018                  /s/ Justin K. Beyer
                                          Counsel for IGT Global Solutions Corporation


Dated:    _June 25, 2018                  /s/Craig T. Boggs
                                          Counsel for Colin Hadden, Camelot Illinois, LLC, and
                                          Camelot Global Services (North America), Inc.


         This Order issued this 10th day of July, 2018.



                                              _____________________________________
                                              United States District Judge
